Case 3:15-cv-08251-AET-TJB Document 13 Filed 01/07/16 Page 1 of 2 PageID: 253



James S. Yu (JY-9734)
SEYFARTH SHAW LLP                                                        RECEIVt...)
620 Eighth Avenue
New York, New York 10018-1405                                                 JAN 0'? 2 ~. ,~
(212) 218-5500
                                                                          AT8:30              ·   9
                                                                                                      •
                                                                                                          111
                                                                             WILLIAM T. WALSf
J. Scott Humphrey (to be admitted pro hac vice)                                   CLER!<
Kristine R. Argentine (to be admitted pro hac vice)
SEYFARTH SHAW LLP
131 South Dearborn Street
Suite 2400
Chicago, Illinois 60603
(312) 460-5000

Attorneys for Plaintiff Allstate Life Insurance Company

                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

ALLSTATE LIFE INSURANCE COMPANY,

                                     Plaintiff,

               v.

JEFFREY STILLWELL and STILLWELL                           3: 15-cv-08251-AET-TJB
FINANCIAL ADVISORS, LLC

                                     Defendants.


------------------------------------x
                    ORDER ADMITTING COUNSEL PRO HAC VICE

       TIDS MATTER having come before the Court by motion of Seyfarth Shaw LLP,

attorneys for Plaintiff Allstate Life Insurance Company ("Plaintiff'), and the Court having

considered the application, and good cause having been shown;

       It is on this_(_ day of~

                                  JA~""-1 ~\i,
    Case 3:15-cv-08251-AET-TJB Document 13 Filed 01/07/16 Page 2 of 2 PageID: 254
#




            ORDERED that the motion for admission of J. Scott Humphrey and Kristine R.

    Argentine to practice pro hac vice in the above-captioned action as counsel for Plaintiff is

    granted; and it is further

            ORDERED that J. Scott Humphrey and Kristine R. Argentine shall each make payment

    of $150.00 to the Clerk of the United States District Court for the District of New Jersey, in

    accordance with Local Civil Rule 101.l(c)(3), within 20 days of the date of the entry of this

    order; and it is further

            ORDERED that J. Scott Humphrey and Kristine R. Argentine shall each make payment

    to the New Jersey Lawyers' Fund for Client Protection, in accordance with New Jersey Court

    Rule 1:28-2(a), within 20 days of the date of the entry of this order; and it is further

            ORDERED that a copy of this Order be served upon all counsel of record within _ _

    days hereof.




            IT IS SO ORDERED:
                                                                    ,.., .. (/~
            DATED this G. day ofDeeemesF, 26fT.                 ~,./,
                                   J:."'"'7       :l-o''   ~".;:,c,.~._.;;ro---./-"~
                                                   United States Q~sti:ict Court Judge
                                                                  Mo.J ,c;Jrc-':J..e -




                                                      2
